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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

BRYAN PIERCE,                                      §
                                                   §
                                                   §
                                                   §
       Plaintiff,                                  §
                                                   §
                                                   §
                                                   §
v.                                                 §
                                                   §    Civil Action No. 1:17-cv-848
                                                   §
                                                   §
CLIENT SERVICES, INC.,                             §
                                                   §
                                                   §
                                                   §
        Defendant.                                 §
                                                   §


             DEFENDANT C
             DEFENDANT  LIENT S
                       CLIENT  ERVICES, IINC.'S
                              SERVICES,   NC.’S NOTICE
                                                NOTICE OF REMOVAL
                                                       OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendant Client Services,
                                   Services, Inc.
                                             Inc. (herein
                                                  (herein “CSI”
                                                          "CSI" or "Defendant"),
                                                                   “Defendant”), and files

its Notice of Removal in this action to the United States District Court for the Western District of

Texas, Austin Division, and in support therefore respectfully shows unto the Court the following:

       1.
       1.       Plaintiff Bryan Pierce filed his Original Petition on August 1, 2017 in the Justice

Court, Precinct No. 2, Williamson County,
                                  County, Texas,
                                          Texas, Cause
                                                 Cause No.
                                                       No. 2SC-17-0197.
                                                           2SC-17-0197. This court is located

at 350 Discovery Blvd., Suite 204, Cedar Park, TX 78613.

        2.
        2.      This
                This is aa civil
                           civil action
                                 action based
                                        based on
                                              on Plaintiffs
                                                 Plaintiff’scontentions
                                                             contentions that,
                                                                          that, among
                                                                                 among other
                                                                                       other things,
                                                                                              things,

Defendant violated the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA").
                                                                                     (“FDCPA”).

The case is still pending in state court.

        3.
        3.      Removal is
                Removal    proper because
                        is proper because this
                                           this case
                                                 case involves
                                                       involves a afederal
                                                                     federalquestion—alleged
                                                                              question—alleged

violations of the FDCPA. The
                         The entire
                             entire suit
                                    suit is
                                         is removable
                                            removable under 28 U.S.C. §1441(a).

       4.       Removal is timely pursuant
                Removal           pursuant to 28 U.S.C.
                                                 U.S.C. §1446(b)
                                                        §1446(b) because Defendant
                                                                         Defendant has filed

                                                    Plaintiff’s Original
this Notice of Removal within 30 days of receipt of Plaintiff's Original Petition.
                                                                         Petition. Defendant
                                                                                   Defendant first




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ascertained that
ascertained that this lawsuit
                      lawsuit is one which is or has become removable
                                                            removable after
                                                                      after receipt
                                                                            receipt of
                                                                                    of Plaintiff’s
                                                                                       Plaintiff's

Original Petition, which was served on August 2, 2017.

        5.
        5.     Pursuant to
               Pursuant to 28 U.S.C. §1446(a)
                                     §1446(a) and
                                              and the Local Rules
                                                  the Local Rules of the Western
                                                                         Western District
                                                                                 District of

Texas, copies of all process, pleadings, orders and other papers filed in this action and obtained

by Defendant are attached hereto and marked as composite Exhibit A and incorporated herein by

reference.

        6.
        6.     A copy of this Notice of Removal has been sent to Plaintiff and will be filed with

the clerk of the Justice Court, Precinct No. 2, Williamson County, Texas.

        7.     Venue is proper in this district
                                       district under 28 U.S.C.
                                                         U.S.C. §1441(a)
                                                                §1441(a) because the state court

where the suit has been pending is located in this district.

        8.
        8.     A jury demand was not made in state court.

                above reasons,
        For the above reasons, CSI requests
                                   requests that this
                                                 this Court
                                                      Court assume
                                                            assume full
                                                                   full jurisdiction
                                                                         jurisdiction over this

proceeding as provided by law.


                                               Respectfully submitted,

                                               WILSON, ELSER, MOSKOWITZ,
                                               EDELMAN & DICKER, LLP
                                               4800 Bank of America Plaza
                                               901 Main Street
                                               Dallas, TX 75202-3758
                                                     698-8000—
                                               (214) 698-8000  – Telephone
                                                                 Telephone
                                                     698-1101—
                                               (214) 698-1101  – Facsimile
                                                                 Facsimile



                                                /s/ Lee L. Cameron, Jr.
                                               LEE L.
                                               LEE  L. CAMERON,
                                                       CAMERON, JJR.
                                                                   R.
                                               State Bar No. 03675380
                                               Lee.Cameron@wilsonelser.com

                                               ATTORNEYS FOR D
                                               ATTORNEYS      DEFENDANT
                                                                 EFENDANT
                                               CLIENT S
                                               CLIENT   ERVICES, IINC.
                                                      SERVICES,    NC.



DEFENDANT C
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                                  CERTIFICATE OF SERVICE

       I hereby
         hereby certify
                  certify that
                          that aa true
                                   true and
                                         and correct
                                              correct copy
                                                       copy of
                                                             ofthe
                                                                theforegoing
                                                                    foregoing document
                                                                               document has
                                                                                        has been
                                                                                            been
forwarded to the following party via CM/ECF, on this the 31st day of August, 2017 to:

       Robert Zimmer
       State Bar No. 24098662
       ZIMMER
       ZIMMER & ASSOCIATES
                  ASSOCIATES
       707 West Tenth Street
       Austin, TX 78701-2033
       P: 512-434-0306
          512-434-0306 I| F:
                          F: 310-943-6954
                             310-943-6954
       zimmerlawTX@gmail.com



                                                /s/ Lee L. Cameron, Jr.
                                               LEE L.
                                               LEE  L. CAMERON,
                                                       CAMERON, JJR.
                                                                   R.




DEFENDANT C
DEFENDANT   LIENT S
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